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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                       ) Chapter 11
                                                                 )
    W. R. GRACE & CO., et al., 1                                 ) Case No. 01-01139 (AMC)
                                                                 ) (Jointly Administered)
                             Reorganized Debtors.                )
                                                                 ) Hearing Date: October 1, 2021, at 11:00 a.m.
                                                                   Objection Deadline: September 24, 2021, at 4:00 p.m.
                                                                 )

        NOTICE OF THE REORGANIZED DEBTOR’S MOTION FOR AN ORDER
         FINDING THAT RUNE KRAFT IS IN CONTEMPT OF THIS COURT BY
     WILLFULLY AND KNOWINGLY VIOLATING THIS COURT’S CONFIRMATION
       ORDER AND ITS ORDERS OF AUGUST 26, 2021 [DOCKET NO. 33256] AND
        SEPTEMBER 8, 2021 [DOCKET NO. 33265] AND IMPOSING SANCTIONS

TO:          (i) the Office of the United States Trustee; (ii) Counsel for the WRG Asbestos PI Trust;
             (iii) Counsel for the Asbestos PI Future Claimants Representative; (iv) Counsel for the
             Asbestos PD Future Claimants Representative; (v) Counsel for the WRG Asbestos PD
             Trust (7A); (vi) Counsel for the WRG Asbestos PD Trust (7B); (vii) Counsel for the CDN
             ZAI PD Claims Fund; (viii) those parties that requested service and notice of papers in
             accordance with Fed. R. Bankr. P. 2002; and (ix) Rune Kraft.

                    On September 17, 2021, the above-captioned reorganized debtors (collectively, the

“Reorganized Debtors”) filed the attached The Reorganized Debtor’s Motion for an Order Finding

That Rune Kraft is in Contempt of This Court By Willfully and Knowingly Violating This Court’s

Confirmation Order and Its Orders of August 26, 2021 [Docket No. 33256] and September 8, 2021

[Docket No. 33265] and Imposing Sanctions (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware, 824 Market Street, Wilmington, Delaware 19801 (the

“Bankruptcy Court”). A true and correct copy of the Motion is attached hereto.

                    Responses to the relief requested in the Motion, if any, must be in writing and be

filed with the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern time) on September




1
      W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor
      and Case no. 01-1139 is the sole remaining open chapter 11 case.



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24, 2021. At the same time, you must also serve a copy of the objections or responses, if any,

upon the following: (i) co-counsel for the Reorganized Debtor, Kirkland & Ellis LLP (Attn: Adam

C. Paul, Esq. and John Donley, Esq.) adam.paul@kirkland.com and john.donley@kirkland.com

and The Law Offices of Roger Higgins, LLC (Attn: Roger J. Higgins, Esq.)

rhiggins@rogerhigginslaw.com, and Pachulski Stang Ziehl & Jones LLP, (Attn: Laura Davis

Jones, Esq. and James E. O’Neill, Esq.) ljones@pszjlaw.com and jo’neill@pszjlaw.com; (ii) the

Office     of    the    United   States    Trustee,   (Attn:   Richard   L.     Schepacarter,   Esq.)

richard.schepacarter@usdoj.gov; (iii) counsel for the WRG Asbestos PI Trust; Campbell &

Levine, LLC, (Attn: Marla Rosoff Eskin, Esq., Mark T. Hurford, Esq. and Philip E. Milch, Esq.)

meskin@camlev.com, mhurford@camlev.com, pmilch@camlev.com; (iv) counsel for the

Asbestos PI Future Claimants Representative, Phillips, Goldman, McLaughlin & Hall, P.A., (Attn:

John C. Phillips, Jr., Esq.) jcp@pgmhlaw.com; (v) counsel for the Asbestos PD Future Claimants

Representative, Seitz, Van Ogtrop & Green, P.A., (Attn: R. Karl Hill, Esq.) khill@svglaw.com,

and Alan B. Rich Law Office (Attn: Alan B. Rich, Esq.) alan@alanrichlaw.com; (vi) counsel for

the WRG Asbestos PD Trust (7A), WRG Asbestos PD Trust, (Attn: Richard B. Schiro, Esq.)

rbschiro@schirolaw.com and Dykema Cox Smith, (Attn: Deborah D. Williamson, Esq.)

dwilliamson@dykema.com; and (vii) counsel for the WRG Asbestos PD Trust (7B), Sullivan

Hazeltine Allinson LLC, (Attn: William D. Sullivan, Esq.) bsullivan@sha-llc.com and Barnwell

Whaley Patterson & Helms LLC, (Attn: M. Dawes Cooke, Esq.) mdc@barnwell-whaley.com.

                 IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN ACCORDANCE

WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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                 IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE OBJECTION

WILL BE HELD BEFORE THE HONORABLE ASHELY M. CHAN AT THE UNITED

STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA,

ROBERT N.C. NIX FEDERAL COURTHOUSE, 900 MARKET STREET, SECOND FLOOR,

COURTROOM 4, PHILADELPHIA, PA 19017, ON OCTOBER 1, 2021, AT 11:00 A.M.

PREVAILING EASTERN TIME.

Dated: September 17, 2021            THE LAW OFFICES OF ROGER HIGGINS, LLC
                                     Roger J. Higgins
                                     516 North Ogden Ave.
                                     Suite 136
                                     Chicago, IL 60642
                                     Telephone: (312) 480-1984

                                     and

                                     PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ James E. O’Neill__________________________
                                     Laura Davis Jones (Bar No. 2436)
                                     James E. O’Neill (Bar No. 4042)
                                     919 N. Market Street, 17th Floor
                                     P.O. Box 8705
                                     Wilmington, DE 19899-8705
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400

                                     Co-Counsel for the Reorganized Debtors




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